
15 A.3d 426 (2011)
Susan B. Fralick BALL, Larry G. Comisak, Kathryn S. Comisak, Richard Cowhig, Caren Cowhig, Florence Dahm, on behalf of herself and the Estate of Edward Dahm, Christine Fisher, Warren Fisher, Barbara A. Frankl, David Glass, Elaine Glass, Jared Glass, Alma R. Jacobs, on behalf of herself and the Estate of J. Alexander Jacobs, Eugene Katz, Lenore Katz, Sun E. Kim, Joan Kuch, on behalf of herself and the Estate of Leonard Kuch, John McCarry, Marybeth McCarry, Jonathan McCarry, Matthew McCarry, Patrick McCarry, James J. Moore III, Patricia G. Moore, Louis Nicolai, Bruce Nichols, Beatrice Nichols, Richard K. Oberholtzer, Wendy Oberholtzer, Megan Oberholtzer, Taylor Oberholtzer, Richard H. Shepherd, Jr., Wendie Steffens, Mark Steffens, Payton Thurman, Joan Thurman, D. Jean Tisdall, Susan Walsh, Kurt Weidenhammer, Debbie Weidenhammer, Karen Weidenhammer, Maryann Wrubel, Metro J. Wrubel, and Todd Wrubel, Respondents
v.
BAYARD PUMP &amp; TANK CO., INC., Gulf Oil Limited Partnership, E.O. Habhegger Co., Inc., Titeflex Corporation, Veeder-Root Co., Wagner and T.F.W., Inc.
v.
Marley Pump Company And Containment Technologies Corporation.
Petition of Gulf Oil Limited Partnership and Thomas F. Wagner and Thomas F. Wagner, Inc.
No. 84 MAL 2010.
Supreme Court of Pennsylvania.
March 1, 2011.

ORDER
PER CURIAM.
AND NOW, this 1st day of March, 2011, the Petition for Allowance of Appeal filed at No. 84 MAL 2010 is GRANTED. The issue, reworded for clarity, is:
Whether the decision of many plaintiffs in complex litigation to join in a single complaint, as permitted by Pa.R.C.P. 2229(a), prevents a trial court from exercising its discretion under Pa.R.A.P. 213(b) to sever claims or order separate *427 trials of a small number of bellwether plaintiffs?
Oral argument on the above issue is to be consolidated with 75 MAL 2010.
